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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                                        CASE NO. 24-60271-CIV-DIMITROULEAS
 JUDE BOUQUET,

         Plaintiff,

 vs.

 KIRK TANNER,

       Defendant.
 _____________________________________/


           ORDER DENYING MOTION TO PROCEED IN FORMA PAUPERIS;
                DISMISSING COMPLAINT WITHOUT PREJUDICE

         THIS CAUSE is before the Court sua sponte, upon review of pro se Plaintiff Jude

 Bouquet (“Plaintiff”)’s Complaint, filed on February 16, 2024. See [DE 1].

         Plaintiff filed a Complaint against Defendant Kirk Tanner, Wendy’s CEO (“Defendant”),

 for alleged discrimination Plaintiff experienced while visiting a Wendy’s restaurant on February

 2, 2024. See [DE 1]. Plaintiff alleges that he experienced unlawful discrimination when a

 Wendy’s manager called the police on Plaintiff for staying too long despite being a paying

 customer. See id. As to the requested relief, Plaintiff seeks “justice,” stating that Defendant needs

 to “pay for [dis]respecting customers.” See id.

         As this is a proceeding in forma pauperis, the Court must determine whether the instant

 case is (i) frivolous or malicious, (ii) fails to state a claim on which relief may be granted, or (iii)

 seeks monetary relief against a defendant who is immune from such relief, pursuant to 28 U.S.C.

 ' 1915(e)(2)(B). A court Ashall dismiss@ a case filed in forma pauperis if the court determines

 that the complaint Afails to state a claim upon which relief may be granted.@ ' 1915(e)(2)(B)(ii).

         It is axiomatic that federal courts are courts of limited jurisdiction. Russell Corp. v.
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 American Home Assur. Co., 264 F.3d 1040, 1050 (11th Cir. 2001); Kokkonen v. Guardian Life

 Ins. Co. of Am., 511 U.S. 375, 377 (1994); Burns v. Windsor Ins. Co., 31 F.3d 1092, 1095 (11th

 Cir. 1994). Federal courts have “an ever-present obligation to satisfy themselves of their subject

 matter jurisdiction.” Liberty Mutual Ins. Co. v. Ward Trucking Corp., 48 F.3d 742, 750 (3d Cir.

 1995). As a threshold matter, the Court must determine if jurisdiction exists before proceeding to

 the merits of the case. Sinochem Int=l Co. v. Malay Int=l Shipping Corp, 127 S. Ct. 1184, 1191

 (2007) (“Without jurisdiction the court cannot proceed at all in any cause; it may not assume

 jurisdiction for the purposes of deciding the merits of the case.” (internal quotations omitted)).

          The Court has reviewed the pro se Complaint. The Complaint is insufficient to establish

 that the Court has subject matter jurisdiction over this action. There is no federal question that is

 clear from the Complaint for which this Court would have jurisdiction under 28 U.S.C. § 1331 1,

 nor are there sufficient allegations to determine that this Court would have jurisdiction under 28

 U.S.C. § 1332, diversity jurisdiction.

          Even if the Court had subject matter jurisdiction over this action, the Complaint is subject

 to dismissal pursuant to ' 1915(e)(2)(B)(ii), as it fails to state a claim for relief. The Court notes

 that Plaintiff is pro se. A pro se litigant=s pleadings must be construed more liberally than

 pleadings drafted by attorneys. See Haines v. Kerner, 404 U.S. 519, 520-21 (1972); see also

 Miller v. Donald, 541 F.3d 1091, 1100 (11th Cir. 2008) (Apro se pleadings are held to a less

 stringent standard than those pleadings drafted by attorneys and will, therefore, be liberally

 construed@) (citations omitted). However, Athis leniency does not give a court license to serve as

 de facto counsel for a party . . . or to rewrite an otherwise deficient pleading in order to sustain

 an action.@ GJR Invs., Inc. v. County of Escambia, Fla., 132 F.3d 1359, 1369 (11th Cir. 1998)


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  Merely using the words “discrimination,” unrelated to any allegations supporting a cause of action, is insufficient
 for federal question jurisdiction.
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 (citations omitted).

        Accordingly, it is ORDERED AND ADJUDGED as follows:

        1. Plaintiff’s motion to proceed in forma pauperis [DE 3] is DENIED.

        2. The above-styled action is hereby DISMISSED WITHOUT PREJUDICE for lack

            of jurisdiction or, alternatively, for failure to state a claim pursuant to 28 U.S.C. '

            1915(e)(2)(B)(ii).

        3. The Clerk is directed to CLOSE this case and DENY as moot any pending motions.

        4. The Clerk is DIRECTED to mail a copy of this Order to the address below.

        DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County, Florida this

 20th day of February 2024.




 Copies furnished to:

 Jude Bouquet
 4960 SW 12th Street
 Margate, FL 33068
